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 Collective Plaintiffs, and proposed Class

 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------x
 JOSE REINOSO, on behalf of himself                           CASE NO.
 and others similarly situated,

                       Plaintiff,                             COMPLAINT

         v.                                                   FLSA COLLECTIVE ACTION AND
                                                              RULE 23 CLASS ACTION
 DOWNTOWN RESTAURANT COMPANY,
 LLC, d/b/a CIPRIANI DOWNTOWN, GC
 ALPHA, LLC, d/b/a CIPRIANI DOLCI, 42nd
 STREET LESSEE, LLC d/b/a CIPRIANI,
 GC BALLROOM OPERATOR, LLC, d/b/a
 CIPRIANI CLUB 55, CIPRIANI USA, INC.,
 IGNAZIO CIPRIANI, MAGGIO CIPRIANI,
 FEDERICO CONTU, and ANABEL
 ESPINAL,
                        Defendants.
 ---------------------------------------------------------x

        Plaintiff alleges as follows:

                                     JURISDICTION AND VENUE

        1.       This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”)

and 42 U.S.C. § 1981. This Court has supplemental jurisdiction over the New York state law

claims, as they are so related to the claims in this action within the Court’s original jurisdiction
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that they form part of the same case or controversy under Article III of the United States

Constitution.

        2.       Venue is proper in this District because Defendants conduct business in this

District, and the acts and/or omissions giving rise to the claims herein alleged took place in this

District.

                                          THE PARTIES

        3.       Defendant Downtown Restaurant Company LLC is a New York Corporation that

owns and operates Cipriani Downtown Restaurant located at 376 West Broadway.

        4.       Defendant GC Alpha, LLC is a New York Corporation that operates Cipriani Dolci

in Grand Central Station, Manhattan.

        5.       Defendant 42nd Street Lessee, LLC is a New York corporation that owns and

operates Cipriani Restaurant located at 110 West 42nd Street.

        6.       Defendant GC Ballroom Operator, LLC is a New York corporation that owns and

operates Cipriani Club 55 located at 55 Wall Street.

        7.       Each of the above restaurants are referred to collectively herein as the

“Restaurants.”

        8.       Defendant Cipriani USA, Inc. is a holding company that owns and operates the

Restaurants.

        9.       Each of the Restaurants has an annual gross volume of sales in excess of $500,000.

        10.      The Restaurants are part of a single integrated enterprise that jointly employed

Plaintiff and those similarly situated at all relevant times. The corporate Defendants are owned,

and their operations are conducted, by Defendants Ignacio and Maggio Cipriani, and they are all

subject to the same general management and the payroll practices described herein.




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       11.     All of the Restaurants’ liquor licenses name either Maggio or Ignacio Cipriani as

principals.

       12.     All of the restaurants share a website, www.Cipriani.com, and operate under the

name “Cipriani.”

       13.     All of the Restaurants have centralized control of labor operations, as payroll and

human resources for all the Restaurants are run out of one office on 42nd Street.

       14.     Defendants Maggio and Ignacio Cipriani actively manage the Restaurants.

       15.     They have actual ultimate authority with respect to hiring and firing decisions,

discipline, and payroll practices at the Restaurants.

       16.     Maggio Cipriani has told the New York Post, with respect to himself and his

brother Ignacio, “We are highly involved in the day-to-day operations of the business.”

       17.     Defendants Maggio and Ignacio Cipriani work alongside a team of eight

management executives who oversee the company’s finance and legal departments.

       18.     The Restaurant Defendants and Maggio and Ignacio Cipriani are hereafter

referred to as the “Cipriani Defendants.”

       19.     Defendant Federico Contu is the general manager at Cipriani Downtown.

       20.     Defendant Anabel Espinal is a Human Resources executive that works for the

Cipriani Defendants.

       21.     Plaintiff Jose Reinoso was employed by Defendants as a server at Cipriani

Downtown for roughly 21years until July of 2017.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

       22.     Plaintiff brings the First and Second Claims for Relief as a collective action

pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all service employees, other than



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service managers, employed by Defendants at any of the Restaurants on or after the date that is

three years before the filing of the Original Complaint in this case as defined herein (“FLSA

Collective”).

       23.      At all relevant times, Plaintiff and the other FLSA Collective Plaintiffs are and have

been similarly situated, have had substantially similar job requirements and pay provisions, and

are and have been subject to Defendants’ decision, policy, plan and common policies, programs,

practices, procedures, protocols, routines, and rules willfully failing and refusing to pay them at

the legally required minimum wage and overtime rates for all hours worked and allowing non-

tipped employees to share in their tips. The claims of Plaintiff stated herein are essentially the

same as those of the other FLSA Collective Plaintiffs.

       24.      The First and Second Claims for Relief are properly brought under and maintained

as an opt-in collective action pursuant to § 16(b) of the FLSA, 29 U.S.C. 216(b). The FLSA

Collective Plaintiffs are readily ascertainable. For the purpose of notice and other purposes related

to this action, their names and addresses are readily available from Defendants. Notice can be

provided to the FLSA Collective Plaintiffs via first class mail to the last address known to

Defendants.

                      RULE 23 CLASS ALLEGATIONS – NEW YORK

       25.      Plaintiff brings the Third, Fourth, and Fifth Claims for Relief pursuant to the

Federal Rules of Civil Procedure (“F.R.C.P.”) Rule 23, on behalf of all service employees, other

than service managers, employed by Defendants at any of the Restaurants on or after the date that

is six years before the filing of the Original Complaint in this case as defined herein (the “Class

Period”).




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       26.     All said persons, including Plaintiff, are referred to herein as the “Class.” The Class

members are readily ascertainable.       The number and identity of the Class members are

determinable from Defendants’ records. The hours assigned and worked, the positions held, and

the rates of pay for each Class member are also determinable from Defendants’ records. For the

purpose of notice and other purposes related to this action, their names and addresses are readily

available from Defendants. Notice can be provided by means permissible under said F.R.C.P. 23.

       27.     The proposed Class is so numerous that joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the court. Although the

precise number of such persons is unknown, and the facts on which the calculation of that number

are presently within the sole control of Defendants, upon information and belief, there are more

than sixty (60) members of the Class.

       28.     Plaintiff’s claims are typical of those claims which could be alleged by any member

of the Class, and the relief sought is typical of the relief which would be sought by each member

of the Class in separate actions. All the Class members were subject to the same corporate

practices of Defendants, as alleged herein, of failing to pay all minimum wage and overtime

compensation due and failing to provide Class members with required wage notices. Defendants’

corporate-wide policies and practices affected all Class members similarly, and Defendants

benefited from the same type of unfair and/or wrongful acts as to each Class member. Plaintiff

and other Class members sustained similar losses, injuries and damages arising from the same

unlawful policies, practices and procedures.

       29.     Plaintiff is able to fairly and adequately protect the interests of the Class and has no

interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced and




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competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.

       30.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

Defendants. Class action treatment will permit a large number of similarly situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Class members are

small in the sense pertinent to a class action analysis, the expenses and burden of individual

litigation would make it extremely difficult or impossible for the individual Class members to

redress the wrongs done to them. On the other hand, important public interests will be served by

addressing the matter as a class action. The adjudication of individual litigation claims would

result in a great expenditure of Court and public resources; however, treating the claims as a class

action would result in a significant saving of these costs. The prosecution of separate actions by

individual members of the Class would create a risk of inconsistent and/or varying adjudications

with respect to the individual members of the Class, establishing incompatible standards of

conduct for Defendants and resulting in the impairment of class members’ rights and the

disposition of their interests through actions to which they were not parties. The issues in this

action can be decided by means of common, class-wide proof. In addition, if appropriate, the

Court can, and is empowered to, fashion methods to efficiently manage this action as a class action.

       31.     Upon information and belief, Defendants and other employers throughout the state

violate the New York Labor Law. Current employees are often afraid to assert their rights out of




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fear of direct or indirect retaliation. Former employees are fearful of bringing claims because

doing so can harm their employment, future employment, and future efforts to secure employment.

Class actions provide class members who are not named in the complaint a degree of anonymity

which allows for the vindication of their rights while eliminating or reducing these risks.

       32.     There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

         a) Whether Defendants employed Plaintiff and the Class members within the meaning

             of the New York law.

         b) At what common rate, or rates subject to common methods of calculation, were and

             are Defendants required to pay Plaintiff and the Class members for their work.

         c) The policies, practices, programs, procedures, protocols and plans of Defendants

             regarding the types of work and labor for which Defendants did not pay the Plaintiff

             and the Class members at all.

         d) Whether Defendants paid Plaintiff and the Class members the appropriate minimum

             wage for all hours worked.

         e) Whether Defendants paid Plaintiff and the Class members the appropriate overtime

             wage for all overtime hours worked.

         f) Whether Defendants gave Plaintiff and the Class members the wage statements

             required by New York Labor Law § 195 and the New York Hospitality Wage Order.

                                             FACTS

                                     Wage and Hour Claims

       33.     Plaintiff’s consent to sue form is attached hereto as Exhibit A.




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        34.    Plaintiff was paid an hourly rate that is lower than the federal minimum wage until

January of 2016 and lower than the New York State minimum wage for his entire employment.

        35.    Plaintiff was in fact paid the “tip credit” minimum wage under the FLSA and

NYLL.

        36.    Defendants were not entitled to utilize the tip credits set forth under the FLSA and

New York Labor Law because they did not give Plaintiff the appropriate notice of the tip credit,

including but not limited to the notices required by N.Y. Lab. Law § 195.

        37.    Because Defendants inappropriately availed themselves of the tip credits,

Defendants also paid Plaintiff the wrong rate for overtime when Plaintiff worked more than 40

hours in a week.

        38.    N.Y. Lab. Law § 195 requires an employer’s weekly wage statement to set forth

any allowances being applied to the Plaintiff’s pay. However, Plaintiff’s weekly pay stubs failed

to set forth accurately the tip credit being applied to Plaintiff’s wage.

        39.    Defendants committed the foregoing acts willfully and against Plaintiff, the FLSA

Collective Plaintiffs, and the Class.

                             Race & National Origin Discrimination

        40.    Plaintiff was an excellent employee who was never reprimanded throughout his 21

years of employment with Defendants.

        41.    In fact, Plaintiff was a “fixture” at Cipriani Downtown. He was well-known and

beloved to Cipriani’s customers and staff alike.

        42.    Plaintiff is a Hispanic-American from Ecuador.

        43.    In or about 2014/2015, Federico Contu became the manager of Cipriani Downtown.

        44.    Mr. Contu is Italian.




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       45.     Since Mr. Contu began working in this position, he made known that he favored

Italian service employees over Hispanic ones.

       46.     For example, before Mr. Contu’s tenure, Cipriani Downtown employed 5 Hispanic

servers and 2 Italian servers. Over the course of Mr. Contu’s tenure, Mr. Contu got rid of four

Hispanic servers (including Plaintiff) through either termination or demotion. Each of the Hispanic

servers was replaced with an Italian server.

       47.     Mr. Contu’s campaign to rid the restaurant of Hispanic employees was blatant and

well-known in the restaurant.

       48.     For example, the restaurant employed two floor managers, Alicia and Milton Calle.

Mr. Calle is Ecuadorian. Alicia informed Mr. Calle that Mr. Contu wanted to terminate Plaintiff

because he no longer wanted Hispanic servers at the restaurant.

       49.     In fact, Mr. Calle himself, another beloved employee that worked at Cipriani

Downtown for about 30 years, informed Plaintiff that he believed Mr. Contu would soon end his

own employment because he is Hispanic.

       50.     Plaintiff for years had been assigned to double (lunch and dinner) shifts on

Saturdays, a favorable shift assignment. Shortly after his tenure began, Mr. Contu took away the

double shift from Plaintiff and replaced it with a Tuesday dinner shift, a far less favorable shift

where Plaintiff earned less tip income.

       51.     On or about July 18, 2017, Defendants falsely accused Plaintiff of “comping” a

dessert and drinks to a customer without permission.

       52.     These charges were patently false. The customers in question had been seated at

the bar and were then seated in the dining room by a different waiter. That waiter’s shift ended

while the customers were still finishing their meal. Plaintiff took over the table for the departing




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waiter. The bartender, Milan, who had begun serving the customers at the beginning of the

evening, told Plaintiff that the desserts for this table were to be comped.

          53.   In short, the customers’ drinks, if they were in fact comped, were comped by the

bartender, as were the desserts. The restaurant management was well aware of this because the

bartender spoke to them about the entire incident and resigned his employment the following day

because of the incident.

          54.   Nevertheless, without ever questioning Plaintiff, a long-time, well trusted employee

with an unblemished record, Defendants terminated Plaintiff.

          55.   Specifically, Anabel Espinal called Plaintiff to Cipriani’s central human resources

office and told him he was being fired.

          56.   Again, Plaintiff had never been written up or disciplined before this in his entire

20-year tenure with the restaurant.

          57.   Plaintiff attempted to explain to Ms. Espinal what had happened, and she said she

would discuss the matter with Mr. Contu.

          58.   Several days later, on July 24, 2017, Ms. Espinal told Plaintiff that she spoke with

Mr. Contu, and his termination was final.

          59.   Shortly thereafter, Plaintiff met personally with Maggio Cipriani to explain to him

the patently unfair and ridiculous allegations leading to his termination and to plead for his job.

Mr. Cipriani refused to intercede on Plaintiff’s behalf, allowing the discriminatory termination to

stand.




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                              FIRST CLAIM FOR RELIEF
                  FLSA Minimum Wage Claims, 29 U.S.C. § 201, et seq.,
             Brought by Plaintiff on Behalf of Himself and the FLSA Collective
                        Plaintiffs against the Cipriani Defendants

       60.     Plaintiff, on behalf of himself and the FLSA Collective Plaintiffs, realleges and

incorporates by reference all preceding paragraphs as if they were set forth again herein.

       61.     At all relevant times, Defendants have been, and continue to be, “employers”

engaged in interstate “commerce” and/or in the production of “goods” for “commerce,” within the

meaning of FLSA, 29 U.S.C. § 203.           At all relevant times, Defendants have employed,

“employee[s],” including Plaintiff and each of the FLSA Collective Plaintiffs.

       62.     Throughout the statute of limitations period covered by these claims, Defendants

knowingly failed to pay Plaintiff the federal minimum wage for each hour worked.

       63.     Plaintiff, on behalf of himself and the FLSA Collective Plaintiffs, seeks damages

in the amount of their respective unpaid compensation, liquidated (double) damages as provided

by the FLSA for minimum wage violations, attorneys’ fees and costs, pre- and post-judgment

interest, and such other legal and equitable relief as this Court deems just and proper.

                             SECOND CLAIM FOR RELIEF
                       FLSA Overtime Violations, 29 U.S.C. § 207
             Brought by Plaintiff on Behalf of Himself and the FLSA Collective
                        Plaintiffs against the Cipriani Defendants

       64.     Plaintiff, on behalf of himself and the FLSA Collective Plaintiffs, realleges and

incorporates by reference all preceding paragraphs as if they were set forth again herein.

       65.     At all relevant times, Defendants have been, and continue to be, an “employer”

engaged in interstate “commerce” and/or in the production of “goods” for “commerce,” within the

meaning of FLSA, 29 U.S.C. § 203.           At all relevant times, Defendants have employed,

“employee[s],” including Plaintiff and each of the FLSA Collective Plaintiffs.




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       66.      Throughout the statute of limitations period covered by these claims, Plaintiff and

the other FLSA Collective Plaintiffs worked in excess of forty (40) hours per workweek and

continue to do so.

       67.      At all relevant times, Defendants operated under a decision, policy and plan, and

under common policies, programs, practices, procedures, protocols, routines and rules of willfully

failing and refusing to pay the Class members at one-and-one-half times the minimum wage for

work in excess of forty (40) hours per workweek, and willfully failing to keep records required by

the FLSA even though the FLSA Collective Plaintiffs have been and are entitled to overtime.

       68.      Plaintiff, on behalf of himself and the FLSA Collective Plaintiffs, seeks damages

in the amount of their respective unpaid overtime compensation, liquidated (double) damages as

provided by the FLSA for overtime violations, attorneys’ fees and costs, pre- and post-judgment

interest, and such other legal and equitable relief as this Court deems just and proper.

                             THIRD CLAIM FOR RELIEF
        New York State Minimum Wage Act, New York Labor Law § 650 et seq.
  Brought by Plaintiff on Behalf of Himself and the Class against the Cipriani Defendants

       69.      Plaintiff, on behalf of himself and members of the Class, realleges and incorporates

by reference all preceding paragraphs as if they were set forth again herein.

       70.      Defendants knowingly paid the Plaintiff and members of the Class less than the

New York minimum wage as set forth in N.Y. Lab. Law § 652 and supporting regulations of the

New York State Department of Labor.

       71.      Defendants did not pay Plaintiff and members of the Class minimum wage for all

hours worked.

       72.      Defendants’ failure to pay Plaintiff and members of the Class the minimum wage

was willful within the meaning of N.Y. Lab. Law § 663.




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       73.     As a result of Defendants’ willful and unlawful conduct, Plaintiff and members of

the Class are entitled to an award of damages, including liquidated damages, in amount to be

determined at trial, pre- and post-judgment interest, costs and attorneys’ fees, as provided by N.Y.

Lab. Law § 663.

                             FOURTH CLAIM FOR RELIEF
                              New York Overtime Violations
                 New York Minimum Wage Act, N.Y. Stat. § 650 et seq.,
                       N.Y. Comp. Codes R. & Regs. Tit. 12, § 146-1.4
  Brought by Plaintiff on Behalf of Himself and the Class against the Cipriani Defendants

       74.     Plaintiff, on behalf of himself and members of the Class, realleges and incorporates

by reference all preceding paragraphs as if they were set forth again herein.

       75.     It is unlawful under New York law for an employer to suffer or permit a non-exempt

employee to work without paying overtime wages for all hours worked in excess of forty (40)

hours in any workweek.

       76.     Throughout the Class period, Defendants willfully, regularly and repeatedly failed

to pay Plaintiff and the Class members at the required overtime rate of one-and-one-half times the

minimum wage for hours worked in excess of forty (40) hours per workweek.

       77.     As a result of Defendants’ willful and unlawful conduct, Plaintiff and members of

the Class are entitled to an award of damages, including liquidated damages, in an amount to be

determined at trial, pre- and post-judgment interest, costs and attorneys’ fees, as provided by N.Y.

Lab. Law § 663.

                              FIFTH CLAIM FOR RELIEF
                New York Notice Requirements, N.Y. Lab. L. §§ 195, 198
  Brought by Plaintiff on Behalf of Himself and the Class against the Cipriani Defendants

       78.     Plaintiff, on behalf of himself and the members of the Class, realleges and

incorporates by reference all preceding paragraphs as if they were set forth again herein.




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       79.     Defendants did not provide Plaintiff and the members of the Class with the

notices/wage statements required by N.Y. Lab. Law § 195.

       80.     As a result of Defendants’ unlawful conduct, Plaintiff and members of the Class

are entitled to an award of damages pursuant to N.Y. Lab. Law § 198, in amount to be determined

at trial, pre- and post-judgment interest, and costs and attorneys’ fees, as provided by N.Y. Lab.

Law § 198.

                               SIXTH CLAIM FOR RELIEF
                           42 U.SC. § 1981, Race Discrimination
               Brought by Plaintiff on Behalf of Himself against all Defendants

       81.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

       82.     In violation 42 U.S.C. § 1981, Defendants intentionally discriminated against

Plaintiff on the basis of his Hispanic race.

       83.     As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial monetary damages, including, but not limited to,

loss of income, including past and future salary.

       84.     As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial non-monetary damages, including, but not limited to

emotional distress, physical pain and suffering, damage to Plaintiff’s good name and reputation,

lasting embarrassment, and humiliation.

       85.     As a result of Defendant’s unlawful conduct, Plaintiff is entitled to compensatory

damages, including but not limited to damages for economic loss, emotional distress, physical

injuries, and medical treatment, and such other legal and equitable relief as this Court deems just

and proper.




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                            SEVENTH CLAIM FOR RELIEF
          NYSHRL, N.Y. Exec. Law § 296(7), Race and National Origin Discrimination
              Brought by Plaintiff on Behalf of Himself against all Defendants

          86.       Plaintiff realleges and incorporates by reference all preceding paragraphs as

if they were set forth again herein.

          87.       In violation of NYSHRL, Defendants intentionally discriminated against

Plaintiff on the basis of his race and/or national origin.

          88.       As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff

has suffered, and continues to suffer, substantial monetary damages, including, but not limited to,

loss of income, including past and future salary.

          89.       As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial non-monetary damages, including, but not limited to

emotional distress, physical pain and suffering, damage to Plaintiff’s good name and reputation,

lasting embarrassment, and humiliation.

          90.       As a result of Defendant’s unlawful conduct, Plaintiff is entitled to

compensatory damages, including but not limited to damages for economic loss, emotional

distress, physical injuries, and medical treatment, and such other legal and equitable relief as this

Court deems just and proper.

                        EIGHTH CLAIM FOR RELIEF
  NYCHRL, N.Y. Admin. Code §§ 8-101 et seq., Race and National Origin Discrimination
          Brought by Plaintiff on Behalf of Himself against all Defendants

          91.       Plaintiff realleges and incorporates by reference all preceding paragraphs as

if they were set forth again herein.

          92.       In violation of NYCHRL, Defendant intentionally discriminated against

and/or aided and abetted discrimination against Plaintiff on the basis of his race and/or national

origin.


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       93.          As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff

has suffered, and continues to suffer, substantial monetary damages, including, but not limited to,

loss of income, including past and future salary.

       94.          As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial non-monetary damages, including, but not limited to

emotional distress, physical pain and suffering, damage to Plaintiff’s good name and reputation,

lasting embarrassment, and humiliation.

       95.          Defendant’s conduct was outrageous and malicious, was intended to injure,

and was done with reckless indifference to Plaintiff’s statutorily-protected rights.

       96.          As a result of Defendant’s unlawful conduct, Plaintiff is entitled to

compensatory damages, including but not limited to damages for economic loss, emotional

distress, physical injuries, and medical treatment; punitive damages; attorneys’ fees and costs;

and such other legal and equitable relief as this Court deems just and proper.

       97.          The New York City Commission on Human Rights will be notified and sent a

copy of this complaint.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the FLSA Collective Plaintiffs and

members of the Class, prays for relief as follows:

       A.      An award of damages, according to proof, including back pay, front pay, punitive

               damages, and liquidated damages, to be paid by Defendants;

       B.      Designation of this action as a collective action on behalf of the FLSA Collective

               Plaintiffs and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

               similarly situated members of the FLSA opt-in class, apprising them of the




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               pendency of this action, and permitting them to assert timely FLSA claims and state

               claims in this action by filing individual Consent to Sue forms pursuant to 29 U.S.C.

               § 216(b);

       C.      Designation of Plaintiff as Representative of the FLSA Collective Plaintiffs;

       D.      Designation of this action as a class action pursuant to F.R.C.P. 23.

       E.      Designation of Plaintiff as Representative of the Class.

       F.      An award of damages, according to proof, including liquidated damages, to be paid

               by Defendants;

       G.      An award of damages, according to proof, including, back pay, front pay,

               compensatory damages, emotional distress damages, punitive damages, and

               liquidated damages, to be paid by Defendant;

       H.      Penalties available under applicable laws;

       I.      Costs of action incurred herein, including expert fees;

       J.      Attorneys’ fees, including fees pursuant to 29 U.S.C. § 216, N.Y. Lab. L. § 663,

               and other applicable statutes;

       K.      Pre-judgment and post-judgment interest, as provided by law; and

       L.      Such other and further legal and equitable relief as this Court deems necessary, just

               and proper.

                                         JURY DEMAND

Plaintiff demands trial by jury on all counts so triable.




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Dated: New York, New York     Respectfully submitted,
       November 3, 2017
                              JOSEPH & KIRSCHENBAUM LLP


                              By: _/s/ D. Maimon Kirschenbaum________
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                              Attorneys for Named Plaintiff, proposed
                              FLSA Collective Plaintiffs, and proposed
                              Class




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